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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP,               :    Master Docket: Misc. No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL                :
VENTILATOR PRODUCTS                         :    MDL No. 3014
LITIGATION                                  :
                                            :
This Document Relates to:                   :
All Actions Asserting Claims for            :
Medical Monitoring


                                           ORDER

       AND NOW, this 16th day of July, 2024, upon consideration of the Parties’ Joint Motion

to Publish the Medical Monitoring Class Settlement Notice on this Court’s Website, it is

HEREBY ORDERED that the Motion is GRANTED and the Clerk of Court is directed to

publish the Medical Monitoring Class Settlement Notice attached hereto as Exhibit “A” on the

Court’s website at https://www.pawd.uscourts.gov/mdl-3014-re-philips-recalled-cpap-bi-level-

pap-and-mechanical-ventilator-products-litigation.


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                                                            s/Joy Flowers Conti
                                                         Honorable Joy Flowers Conti
                                                         Senior United States District Judge
Dated: July 16, 2024
